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UNITED STATES OF Al\/|ER|CA
Plaintiff

VS.
CR. NO. 04-20485-[)

YVONNE PATTERSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCI_UDABLE DELAY
AND SETT|NG

 

This cause is set for a report date on lVlay 19, 2005. Counsel for the defendant
moved the court for a continuance of the lVlay 19, 2005 report date in order to allow for
additional preparation in the case.

The Court granted the motion and reset the trial date to July 5, 2005 with a gm
date of Thursdav. June 30. 2005. at 9:00 a.m., in Courtroom 3. 9th Floor of the Federal
Building, l’\/lemphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a Speedy trial.

iT is so oRDERED this 13 ""day of iviay, 2005.

B§N|CE B. DONALD

UN|TED STATES D|STR|CT JUDGE

This document entered on the docket§heet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20485 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

